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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,

             Plaintiffs,

       v.                                  Case No. 18-cv-00068
UNITED STATES OF AMERICA, et al.,

             Defendants,

KARLA PEREZ, et al.,

             Defendant-Intervenors,

and

STATE OF NEW JERSEY,

             Defendant-Intervenor.


NOTICE OF FILING RULEMAKING ADMINISTRATIVE RECORD – PART 5 (Final)




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       Pursuant to the Court’s October 14, 2022 Conference, Federal Defendants hereby file the

DACA Rulemaking administrative record (“AR”) with the Court. The filed AR is identical to the

AR provided to the parties on November 4, 2022.



Dated: November 4, 2022                           Respectfully submitted,
BRIAN BOYNTON                                     JEFFREY S. ROBINS
Principal Deputy Assistant Attorney General       Attorney-in-Charge
Civil Division                                    Deputy Director

AUGUST E. FLENTJE                                 /s/ James J. Walker
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 4, 2022, I electronically filed the foregoing

Notice of Filing Rulemaking Administrative Record with the Clerk of Court using CM/ECF. I

also certify that the foregoing document should automatically be served on all counsel of record

via transmission of Notices of Electronic Filing generated by CM/ECF.

       On November 4, 2022, all counsel of record were served via ECF with this document.


                                                    /s/ James J. Walker
                                                    JAMES J. WALKER
                                                    Senior Litigation Counsel
                                                    U.S. Department of Justice
                                                    Civil Division




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